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 1   WILLIAM L. OSTERHOUDT, ESQ. (SBN043021)
 2
     DOLORES T. OSTERHOUDT (SBN 215537)
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 4   San Francisco, CA 94117
 5   Telephone: (415) 664-4600

 6   Attorneys for Defendant
     JASON MARX
 7

 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,             )            No. CR 06-0316 MHP
11                                         )
                  Plaintiff,               )            AMENDED ORDER
12                                         )            CONCERNING
           vs.
                                           )            DEFENDANT MARX’S
13
     JASON ALLEN MARX,                     )            CURFEW CONDITION
14                                         )
                  Defendant.               )
15   _____________________________________ )
16
            The Court hereby rescinds its Order of September 28, 2006, removing the requirement
17
     that defendant Marx submit to a curfew as directed by the pretrial services office. The curfew
18
     requirement will remain in effect until further order of the Court.
19
            Notwithstanding the present Order, defendant Marx shall not be subject to a curfew on
20
     Saturday, September 30, 2006, since the parties have agreed to this modification.
21
            In all other respects, defendant Marx’s conditions shall remain unchanged pending
22   further order of the Court.
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             September 29, 2006
     DATED: ____________________
                                                                                         RT




                                                                                     ED
                                                                            ORDER
                                                          UNIT




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26
                                                   MAGISTRATE ELIZABETH LAPORTE
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                                                   United States District Court   . Laport
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                                                                    Judge E
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                                                            RT




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     _____________________________________________________________________________________
     A mended Order Co ncerni ng Defendant Marx’s C urfew N Co ndit io n O F C
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     (N o.CR 06-0316)                                             R
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